          Case 1:21-cr-00233-CJN Document 58 Filed 04/28/23 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )               CRIMINAL CASE NO.: 21-cr-233-CJN
      v.                            )
                                    )
WILLIAM ROBERT NORWOOD, III, )
                                    )
                  Defendant.        )
___________________________________ )


                       NOTICE OF SUBSTITUTION OF COUNSEL

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that in the above-captioned matter, Assistant U.S.

Attorney Joseph S. Smith, Jr. is entering his appearance in this matter on behalf of the United

States. Assistant United States Attorney Andrew Tessman no longer represents the United States

in this matter.



                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar No. 481052

                                     By:     s/ Joseph S. Smith, Jr.
                                             Joseph S. Smith, Jr.
                                             CA Bar No. 200108
                                             Assistant U.S. Attorney
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                                             Washington, D.C. 20530
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                                             joseph.s.smith@usdoj.gov
          Case 1:21-cr-00233-CJN Document 58 Filed 04/28/23 Page 2 of 2




                                CERTIFICATE OF SERVICE

       On this 28th day of April, 2023, a copy of the foregoing was served upon all parties listed
on the Electronic Case Filing (ECF) System.

                                             /s/ Joseph S. Smith, Jr.
                                             JOSEPH S. SMITH, JR.
                                             Assistant U.S. Attorney
